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 3
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 4   Facsimile: (559) 579-1530
 5   Attorney for Defendant,
     YOUN YEN
 6
 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,               )     Case No. 1:12-CR-00292 AWI-BAM
                                             )
11          Plaintiff,                       )      STIPULATION TO SET HEARING
                                             )      FOR CHANGE OF PLEA
12               v.                          )      AND ORDER THEREON
                                             )
13   YOUN YEN,                               )     DATE: May 13, 2013
                                             )     TIME: 10:00 a.m.
14                                           )     Courtroom Two
             Defendant.                      )
15                                           )     HONORABLE ANTHONY W. ISHII
16
17         Defendant, YOUN YEN, through his counsel, John F. Garland and the United States of
18   America, through its counsel, Benjamin B. Wagner, United States Attorney and Kevin P.
19   Rooney, Assistant United States Attorney, hereby stipulate to set a hearing for the defendant’s
20   Arraignment on the Superseding Information and Change of Plea hearing on May 13, 2013 at
21   10:00 a.m. before Senior United States District Judge Anthony W. Ishii. The parties also
22   stipulate that the Status Conference presently set on May 13, 2013 at 1:00 p.m. before
23   Magistrate Judge Barbara A. McAuliffe be vacated.
24
25
     Dated: April 23, 2013                                      /s/ John F. Garland
26                                                               John F. Garland
                                                             Attorney for Defendant
27                                                                YOUN YEN
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 1
     Dated: April 23, 2013                                        Benjamin B. Wagner
 2                                                                United States Attorney
 3
                                                                /s/ Kevin P. Rooney
 4                                                      By:      KEVIN P. ROONEY
                                                                Assistant U.S. Attorney
 5
 6
 7
                                           ORDER
 8
           GOOD CAUSE APPEARING, based on the stipulation of the parties,
 9
     IT IS HEREBY ORDERED that the Arraignment on the Superseding Information and Change
10
     of Plea hearing for defendant YOUN YEN is set on May 13, 2013 at 10:00 a.m. and the Status
11
     Conference set on May 13, 2013 at 1:00 p.m. is vacated.
12
13
     IT IS SO ORDERED.
14
15   Dated:   April 25, 2013
     0m8i78                                                    SENIOR DISTRICT JUDGE
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